Case 0:17-cv-60426-UU Document 131-2 Entered on FLSD Docket 02/02/2018 Page 1 of 3

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                                Exhibit
                                  2
Case 0:17-cv-60426-UU Document 131-2 Entered on FLSD Docket 02/02/2018 Page 2 of 3

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    From:             Marcos Jimenez
    To:               evan@cfwlegal.com
    Cc:               "John R. Byrne"; "Val Gurvits"
    Subject:          RE: Proposal
    Date:             Thursday, February 1, 2018 7:09:32 PM


    Just confirmed what I thought. Proposal is not acceptable.


    From: evan@cfwlegal.com [mailto:evan@cfwlegal.com]
    Sent: Thursday, February 01, 2018 6:28 PM
    To: Marcos Jimenez <mdj@mdjlegal.com>
    Cc: 'John R. Byrne' <jbyrne@leoncosgrove.com>; 'Val Gurvits' <vgurvits@bostonlawgroup.com>
    Subject: RE: Proposal

    Given that – in the absence of an agreement – we will be filing our opposition tomorrow, we would
    appreciate it if you would confirm one way or another if the proposal is acceptable.

    Thank you.

    Evan




    Evan Fray-Witzer
    Ciampa Fray-Witzer, LLP
    20 Park Plaza, Suite 505
    Boston, MA 02116
    (617) 426-0000
    (617) 507-8043 (facsimile)
    Evan@CFWLegal.com


    From: Marcos Jimenez [mailto:mdj@mdjlegal.com]
    Sent: Thursday, February 1, 2018 10:48 AM
    To: evan@cfwlegal.com
    Cc: John R. Byrne <jbyrne@leoncosgrove.com>; Val Gurvits <vgurvits@bostonlawgroup.com>
    Subject: Re: Proposal

    I will definitely confirm this evening but this proposal most likely will not work for Mr. Kramer for the
    reasons articulated in his motion.

     Marcos Daniel Jiménez
     Marcos D. Jimenez, P.A.  
     255 Alhambra Circle, Suite 800
     Coral Gables, FL 33134
     Tel +1 305-570-3249
     Cel +1 305-772-6026
Case 0:17-cv-60426-UU Document 131-2 Entered on FLSD Docket 02/02/2018 Page 3 of 3

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     mdj@mdjlegal.com



    On Jan 31, 2018, at 4:08 PM, "evan@cfwlegal.com" <evan@cfwlegal.com> wrote:

          Dear Marcos:

          In the course of our hearing before Magistrate O’Sullivan and again in your brief, you
          stressed two items in Mr. Kramer’s testimony that you found to be concerning:

                         1.            his testimony that he knew Mr. Steele’s sources; and
                         2.            his testimony that the questions asked at the deposition were
          substantially similar to
                                       those asked of him when he testified before Congress.

          In an effort to see if a negotiated resolution to our dispute is possible, I would propose
          that Plaintiffs would agree not to publicly use pages of Mr. Kramer’s deposition that
          include references to either of those points.

          More specifically, Plaintiffs would be satisfied to present only the following pages of
          Mr. Kramer’s deposition to the British court: pp. 1, 22-29, 35-40, 48-67.

          Please let us know as soon as possible if this proposed compromise would satisfy your
          concerns.

          Thank you.

          Evan




          Evan Fray-Witzer
          Ciampa Fray-Witzer, LLP
          20 Park Plaza, Suite 505
          Boston, MA 02116
          (617) 426-0000
          (617) 507-8043 (facsimile)
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